
45 So. 3d 483 (2010)
Bruce A. LING, Appellant,
v.
STATE of Florida, Appellee.
No. 1D06-2787.
District Court of Appeal of Florida, First District.
August 25, 2010.
Rehearing Denied October 11, 2010.
Michael Ufferman of Michael Ufferman Law Firm, P.A., Tallahassee, for Appellant.
Bill McCollum, Attorney General, and Heather Flanagan Ross, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
Appellant, Bruce A. Ling, challenges the revocation of his probation on several grounds. We affirm the trial court's revocation *484 of probation and imposition of sentence, but remand for entry of a corrected scoresheet because the scoresheet erroneously included four points for a legal status violation. Appellant need not be present.
AFFIRMED in part and REMANDED in part for entry of a corrected scoresheet.
WEBSTER, DAVIS, and VAN NORTWICK, JJ., concur.
